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               U.S. DISTRICT COURT * W.D. LOUISIANA * MONROE DIVISION
  GREGORY SCOTT, et al.                                             JUDGE: S. Maurice Hicks
  versus - 3:16-cv-00376

  NORTHERN LOUISIANA MEDICAL
  CENTER, et al.                                                    MAGISTRATE JUDGE: Karen Hayes

                PLAINTIFFS’ 1ST AMENDED & SUPPLEMENTAL COMPLAINT

          NOW INTO COURT come Plaintiffs, who hereby adopt and incorporate all of the

  allegations of fact, claims, and prayers for relief alleged in their original Complaint as if re-alleged

  in toto, and then offer the following supplemental allegations of fact:

          1.       NLMC uses a software called MEDHOST, which is a computer-type technology

  that provides a touchscreen menu where doctors can literally press a “button” to obtain certain

  treatment options, including diagnostic imaging. MEDHOST exists in all of NLMC’s departments,

  including its emergency department.

          2.       Discovery has revealed that, at the time of Jordan Scott’s treatment, all of NLMC’s

  different departments allowed for MRI’s to be obtained when desired by a physician through a

  simple click of the MEDHOST “button” – all except its emergency department.

          3.       NLMC has failed to identify any reason as to why its emergency department’s

  MEDHOST software did not possess an MRI “button” at the time of Jordan Scott’s treatment.

  Further, while NLMC administration claims that MRI’s are allowed from the emergency

  department, all of NLMC’s emergency department physicians (Drs. Alam, Taylor, and Calvert)

  have testified that they did not know how to order an MRI from the emergency department. In

  fact, some of these physicians did not even think it was possible to order an MRI from NLMC’s

  emergency department (despite an MRI machine being right down the hallway).1


  1 So, while NLMC administration believes that MRI’s are accessible from its emergency department, NLMC’s emergency
  physicians think otherwise.

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         4.      It is undisputed that, if NLMC’s emergency department’s MEDHOST software had

  an MRI “button” on the date of Jordan Scott’s treatment, her treating physician (Dr. Taylor) could

  have simply pressed the “button” and then an MRI would have been immediately ordered and

  obtained. This would have allowed for Jordan Scott’s thoracic hematoma to have been timely

  identified, treated, and removed. Instead, however, no MRI “button” existed on the date of Jordan

  Scott’s treatment, and her treating physician therefore spent roughly seven (7) hours attempting to

  obtain an MRI (running into multiple administrative hurdles and denials pending “precertification”

  along the way). During this seven (7) hour delay, Jordan Scott’s condition deteriorated from mere

  tingling/numbness in her extremities to full-blown and irreversible paralysis. Accordingly, the

  absence of an MRI “button” on NLMC’s emergency department’s MEDHOST software

  proximately caused Plaintiffs’ damages.

         5.      In short, discovery has revealed that Jordan Scott’s damages are directly due to

  NLMC’s failure to place a simple “button” on its emergency department’s software that

  inexplicably existed in every other department using the exact same software at the time of her

  treatment.

         6.      MEDHOST decisions – including the inclusion/exclusion of the MRI “button” –

  are administrative matters which are unrelated to medical treatment or a physician’s professional

  skill. In addition, the decision to include or exclude an MRI “button” does not require expert

  medical evidence regarding the appropriate standard of care (e.g. in depositions, NLMC’s own

  physicians were unclear as to how the MEDHOST software operates and who was responsible for

  installing it or modifying it). The decision to include or exclude the MRI “button” likewise does

  not involve an assessment of a patient’s condition – it was universally applied throughout NLMC’s




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  emergency department without consideration of any particular patient’s condition. Further,

  NLMC’s decision to remove the MRI “button” on its MEDHOST software did not occur within

  the context of any physician-patient relationship – to the contrary, it was a purely administrative

  decision or omission without any input from a physician. Finally, NLMC’s decision to remove the

  MRI “button” from its emergency department software was intentional – there is simply no

  legitimate reason for NLMC’s other departments to have an MRI “button” on its software while

  the emergency department (using the exact same software) does not have an MRI “button.” On

  information and belief – specifically, unfavorable reimbursement schedules for emergency

  department MRI’s – NLMC intentionally removed the MRI “button” from its MEDHOST

  software in effort to make the obtaining of emergency MRI’s more difficult and, in turn, minimize

  financial losses attributable to unpaid emergency room MRI’s. This is improper in the emergency

  room setting because: (i) financial considerations are inherently prohibited in the emergency

  setting when it comes to providing appropriate screening examinations and related treatment; and

  (ii) emergency rooms receive funding (state and federal) to cover these types of anticipated losses.

         7.      In short, NLMC committed administrative negligence when it installed the

  MEDHOST software in its emergency department without the MRI “button.” It also committed

  administrative negligence by failing to instruct, train, or educate its administrative staff and

  physicians on how to obtain MRI’s from the emergency room (with or without the benefit of

  MEDHOST). Last, to the extent NLMC deliberately removed the MRI “button” from its

  emergency department’s MEDHOST software for financial considerations, then that constitutes

  an additional EMTALA violation because it effectively delays or denies appropriate screening

  examinations and related treatment based on financial/insurance-related inquiries.




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          WHEREFORE, Plaintiffs respectfully pray for a trial by jury and, thereafter, a judgment

  for all amounts reasonable in the premises.

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  Certificate of Service:
  I hereby certify that on February
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